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                         UNITED STATES DISTRICT COURT
  8
                        CENTRAL DISTRICT OF CALIFORNIA
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 10
 11    MICHAEL LUNA, an individual,          Case No.

 12               PLAINTIFF                  COMPLAINT FOR DAMAGES FOR
                                             VIOLATIONS OF CIVIL RIGHTS
 13         V.                               (42 U.S.C. § 1983)

 14    COUNTY OF LOS ANGELES,_LOS            DEMAND FOR JURY TRIAL
       ANGELES COUNTY SHERIFIF’S
 15    DEPARTMENT KENNETH                    I.     VIOLATIONS OF CIVIL
       FELIX, TIMOTHY LOPEZ,                        RIGHTS (42 U.S.C. § 1983)
       NICHOLAS CABRERA, and DOES                  (Individual Liability)
 16    1 through 10,
                                             II.   VIOLATIONS OF CIVIL
 17               DEFENDANTS                       RIGHTS (42 U.S.C. 8 1983)
                                                   [Government Entity Liability
  8                                                against City of Los Angeles]
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   1         The following allegations are made to support this Complaint;
  2                               JURISDICTION AND VENUE
  3           1.    The jurisdiction of this Court is invoked under 28 U.S.C. §§ 1331 and
  4    1343 in this action arising under 42 U.S.C. §1983, wherein plaintiff seeks to redress
   5   deprivations by defendants, acting under color of state law, of rights secured to him
   6 by the First, Fourth and Fourteenth Amendments to the United States Constitution
   7   and the laws of the United States.
   8         2.     Venue of this action is proper in this judicial district by virtue of 28
   9   U.S.C. Section 1391 because, among other things, the acts complained of occurred
  10   in this judicial district and because one or more of the defendants reside in this
  11   judicial district and all of the defendants reside in California.
  12                                         PLAINTIFF
  13          3.    MICHAEL LUNA, an individual, is resident of the State of California.
  14                                        DEFENDANTS
  15          4.    The true names and capacities, whether corporate, associate, individual
  16   or otherwise of defendants, DOES 1 through 10, inclusive, are unknown to
  17 PLAINTIFF, who therefore sues said defendants by such fictitious names. Each of
  18   the defendants designated herein as a DOE is negligently or otherwise legally
  19 responsible in some manner for the events and happenings herein referred to and
  20   caused injuries and damages proximately thereby to the PLAINTIFF, as herein
  21   alleged. PLAINTIFF will ask leave of Court to amend this Complaint to show their
  22   names and capacities when the same have been ascertained.
  23         5.      Plaintiff is infortned and believes and thereon alleges that at all
  24 relevant times, all individual defendants were employees of Los Angeles County
  25   Sheriffs Department.
  26         6.      Plaintiff is further informed and believes and thereon alleges that
  27   defendants Kenneth Felix, Timothy Lopez, and Sergeant Nicholas Cabrera were and
  28   are police officers employed by Los Angeles County Sheriffs Department.
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   1        7.     Plaintiff is informed and believes and thereon alleges that at all

  2 relevant times, defendant County of Los Angeles was and is a California
   3 government entity. Liability under federal law for all government entity defendants
  4 and their employees is based upon 42 U.S.C. § 1983.
   5        8.     Plaintiff is informed and believes and thereon alleges that each

   6 defendant is, and at all times mentioned was, the agent, employee or representative
   7 of each of the other defendants. Each defendant, in doing the acts, or in omitting to
   8 act as alleged in this Complaint, was acting within the scope of his or her actual or
   9 apparent authority of the alleged acts and omissions of each defendant as agent
 10 subsequently were ratified and adopted by each other defendant as principal.
  11        9.     Plaintiff is informed and believes and thereon alleges that all

 12 defendants, at all times relevant to the allegations herein, acted under the color of
 13    state law, and each defendant, except the governmental entity defendants, is sued in
  14 an individual capacity.
 15                         FACTS COMMON TO ALL COUNTS
  16         10.   On or about July 31, 2005, in the city of Pico Rivera, County of Los
  17 Angeles, California, officers employed by the Los Angeles County Sheriffs
  18 Department arrived to Plaintiffs residence, where Plaintiff Michael Luna was
  19 entertaining his family at a birthday party. Later, near the conclusion of the party at
 20 Mr. Luna’s home, the officers had stopped Plaintiffs sister for a purported traffic
 21    violation on Plaintiffs driveway. Learning of the police presence on his driveway,

 22 Mr. Luna went outside to his driveway where he witnessed his sister and her friend
 23    sitting in their car while Deputy Timothy Lopez was pointing his gun at their car.

 24 Mr. Luna, concerned for the safety of his sister and the guests at his residence,
 25 which included children, walked towards deputy Kenneth Felix who was standing
 26 by the police car and tried to reason with the officer to put away their guns,
 27 explaining that his sister was not dangerous and that his children were sleeping
 28 inside the house.
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   1            11.   First the officers told him to stand back and he complied. Later, Mr.
  2    Luna asked for their badge numbers. This act angered the deputies, who without
  3 justification, used unreasonable and excessive force against Mr. Luna, including,
  4    without limitation, attacks on Mr. Luna’s person and pepper spray.
  5             12.   After employing excessive and unreasonable force, the deputies falsely
  6    arrested Mr. Luna on pretextual grounds of battery on a peace officer and resisting,
  7    obstructing and/or delaying of peace officer.
   8            13.   The defendants presented false charges to the District Attorney, which
  9 pursued criminal charges based on the false claims by the defendants.
 10             14.   In January 2006, Mr. Luna was acquitted by a jury of all charges,
 11    including a claim for battery on a peace officer and resisting, obstructing and/or
 12    delaying of peace officer.
 13                                           DAMAGES
  14            15.   Asa direct and proximate result of the aforesaid acts, omissions,
  15   customs, practices, policies and decisions of the defendants, plaintiff has suffered
  16   great mental and physical pain, suffering, anguish, fright, nervousness, anxiety,
  17   shock, humiliation, indignity, embarrassment, harm to reputation, and apprehension,
  18   which have caused plaintiff to sustain damages in a sum to be determined at trial.
  19            16.   As a further direct and proximate result of the aforesaid acts,
 20    omissions, customs, practices, policies and decisions of the defendants, plaintiff has
 21    suffered, and continues to suffer, and is likely to suffer in the future, extreme and
 22    severe mental anguish as well as mental and physical pain and injury. For such
 23    injury, plaintiff will incur significant damages based on psychological and medical
 24    care.
 25             17.   Asa further direct and proximate result of the aforesaid acts,
 26    omissions, customs, practices, policies and decisions of the defendants, plaintiff has
 27    lost past and future earnings in an amount to be determined according to proof at
 28    trial.
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  1         18.   All individual defendants, excluding defendants County of Los

  2 Angeles and Los Angeles County Sheriffs Department acted outside the scope of
  3 their jurisdiction and without authorization of law, and, separately and in concert,
  4 the aforementioned acts of the defendants, and each of them, was willful, wanton,
  5 malicious and oppressive, with reckless disregard or with deliberate indifference
  6 and with the intent to deprive plaintiff of his constitutional rights and privileges,
  7 and did in fact violate the aforementioned rights and privileges, entitling plaintiff to
  8 exemplary and punitive damages in an amount to be proven at the trial of this
  9 matter.
 10                                 CLAIMS FOR RELIEF

 11                              FIRST CLAIM FOR RELIEF

 12               DEPRIVATION OF CIVIL RIGHTS - 42 U.S.C. § 1983
 13                                   (Individual Liability)
 14         19.    The allegations set forth in paragraphs 1 through 18 are incorporated

 15 herein by reference.
 16         20.    The individual defendants, while acting under color of law, deprived

 17 plaintiff of his civil rights by violating his right under the First and Fourth
 18 Amendment to be free from unreasonable seizures based upon a protest of unlawful
 19 police conduct and his right under the Fourteenth Amendment to due process of law
 20 in that they seized plaintiff or caused plaintiff to be seized and imprisoned, without
 21   a warrant or probable cause to believe that he was involved in criminal activity,

 22 knowingly using false and fabricated evidence.
 23         21.   Defendants instigated a criminal prosecution against plaintiff without

 24 probable cause and with malice, and maintained a code of silence during the
 25 pendency of the criminal proceedings knowing that the charges were false and that
 26 there was no credible evidence against plaintiff.
 27         22.    The above acts and omissions, while carried out under color of law,

 28 have no justification or excuse in law, and instead constitute a gross abuse of
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   1   governmental authority and power, shock the conscience, are fundamentally unfair,

  2 arbitrary and oppressive, and unrelated to any activity in which governmental
  3    officers may appropriately and legally undertake in the course of protecting persons

  4 or property, or ensuring civil order. The above acts and omissions were consciously
   5 chosen from among various alternatives.
   6         23.   Plaintiff has a right to be free from unreasonable seizures as protected

   7 by the Fourth Amendment, and a right to be free from the deprivation of his liberty
   8 without due process of law, as protected by the Fourteenth Amendment. Plaintiff
   9 has a liberty interest in being free from abusive governmental action and in being
  10 accorded procedural and substantive due process of law. Plaintiff had a right to
  11   protest illegal police conduct under the First Amendment. All of these rights and

  12 privileges are secured to plaintiff by the provisions of the First and Fourth
  13 Amendment and the Due Process clause of the Fourteenth Amendment to the United
  14 States Constitution, and by 42 U.S.C. § 1983. All of these interests were implicated
  15 by the wrongful conduct of the defendants, which proximately caused injuries and
  16 damages to plaintiff, as herein alleged.
  17                           SECOND CLAIM FOR RELIEF
  18               DEPRIVATION OF CIVIL RIGHTS - 42 U.S.C. § 1983
  19                                     (Entity Liability)
 20          24.   The allegations set forth in paragraphs 1 through 23 are incorporated
 21    herein by reference.
 22          25.   Plaintiff is informed and believes and thereon alleges that, at all times
 23 herein mentioned, defendants County of Los Angeles and Los Angeles Sheriffs
 24 Department, with deliberate indifference, and conscious and reckless disregard to
 25 the safety, security and constitutional and statutory rights of plaintiff, maintained,
 26 enforced, tolerated, ratified, permitted, acquiesced in, and/or applied, among others,
 27 the following policies, practices and customs:
 28                (a) failing to adequately train, supervise, and control its officers in the
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  1               constitutional limits of reasonable force;

  2               (b) failing to adequately train, supervise, and control its officers in the

  3               need to file truthful and accurate police reports;

  4               (c) failing to adequately discipline officers involved in dishonesty,
  5               false arrest, excessive force, malicious prosecution or otherwise
  6               abusing their authority;
  7               (d) condoning and encouraging its officers in the belief that they can

  8               violate the rights of persons such as the plaintiff in this action with

  9               impunity, and that such conduct will not adversely affect their

 10               opportunities for promotion and other employment benefits;

 11               (e) failing to adequately investigate complaints of malicious

 12               prosecution, false arrest and/or excessive force;
 13               (f) conducting investigations into complaints of false arrest, excessive
 14               force and/or malicious prosecution as to conceal the misconduct of its
 15               officers;
 16               (g) condoning and encouraging the fabrication of evidence, including
 17               but not limited to the filing of materially false police reports, and/or
 18               making false statements to prosecution authorities to obtain the filing
 19               of false charges and the institution of false and malicious prosecutions
 20               against victims of misconduct by its officers.
 21         26.   As a direct and proximate result of the foregoing, plaintiff sustained
 22 injury and damage as alleged herein.
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   1                                        PRAYER
  2          WHEREFORE, plaintiff requests relief on his own behalf as follows, and
  3    according to proof, against each defendant:
  4          1.    General and compensatory damages in an amount according to proof;
  5          2.    Special damages in an amount according to proof;
  6          3.    Exemplary and Punitive damages against each defendant, except the
  7    County of Los Angeles and the Los Angeles County Sheriffs Department, in an
  8    amount according to proof;
  9          4.    Costs of suit, including attorneys’ fees, under 42 U.S.C. § 1988; and,
 10          5.    Such other relief as may be warranted or as is just and proper.
 11    ///

 12 Dated: July 20, 2007              SCHONBRUN DeSIMONE SEPLOW
                                      HARRIS & HOFFMAN LLP
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                                             Wilmer J. Harris, Esq.
 16                                          Peggy Roman-Jacobson, Esq.
                                             Attorneys for Plaintiff
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   1                             DEMAND FOR JURY TRIAL
   2         Plaintiff demands trial by jury.
   3   ///

   4 Dated: July 20, 2007              SCHONBRUN DeSIMONE SEPLOW
                                       HARRIS & HOFFMAN LLP
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   7
                                                Wilmer J. Harris, Esq.
   8                                            Peggy Roman-Jacobson, Esq.
                                                Attorneys for Plaintiff
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